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Exhibit C
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In Re: : Chapter 11

Case No.

W.R. GRACE & CO., et al, : 01-01139 JKF
(Jointly
Debtors : Administered)

Friday, May 1, 2009
Oral deposition of PETER VAN

N. LOCKWOOD, ESQUIRE, taken pursuant to
notice, was held at the offices of CAPLIN
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1100, Washington, DC 20005, commencing
at 9:43 a.m., on the above date, before
Lori A. 4Zabielski, a Registered
Professional Reporter and Notary Public
in and for the Commonwealth of

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I am correct, am I not, that
the asbestos PI channelling injunction,
among other claims, enjoins any claims
that BNSF has against settled asbestos
insurance companies that arise from
asbestos PI claims?

A. Generally stated, I believe
that to be correct.

Q. Are there any exceptions
about when you are aware?

A. Again, I would have to parse
the definitions to see whether there
might be some hypothetical possibility of
a claim that wouldn't be covered. But to
the extent that BNSF is asserting against
settled insurers claims that are based on
asbestos-related injuries arising from
Grace vermiculite that somehow or another
BNSF was involved with and held liable
for, those claims are channelled to the
Trust.

Q. Okay. And are the claims
that the Libby claimants have asserted or

could assert against the settled asbestos

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insurance companies relating to asbestos
PI claims, are they, too, enjoined and
channelled pursuant to the asbestos PI
channelling injunction?

A. Yes. The Libby claimants
are no different from any other asbestos
personal injury claimant as far as this

injunction is drafted.

23

24

Q. Okay. And the claims that
he settled asbestos insurance companies

hav contractual or otherwise, that

/

arise om asbestos PI claims against the

Debtors, n-Debtor affiliates, Sealed
Air, the Seabed Air indemnified parties,
and the Freseni indemnified parties are
all enjoined under ‘this asbestos PI
channelling injunction\as well, correct?
A. I refuse to cept the

proposition that there can b any such
claims, because the claims againgt you
that would give rise to those indemnity
claims are all enjoined, and so you

are -- it's a catch-22, If the claims

could be asserted against you, it would

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In Re: Chapter 11

Case No.

W.R. GRACE & CO., et al, 01-01139 JKF

(Jointly

Debtors Administered)

Monday, May 4, 2009

Continuation of oral
deposition of PETER VAN N. LOCKWOOD,
ESQUIRE, taken pursuant to notice, was
held at the offices of CAPLIN & DRYSDALE,
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By Mr. Schiavoni Page 624 44
By Mr. Brown Page 636 4s
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24

_ designation to tgstify on behalf

Page 460

PETER VAN N. LOCK WOOD,
ESQUIRE, after having been first
duly sworn, was examined and
testified as follows:

PROCEEDINGS

(ACC 30(b)(6)-17 and 18

R. COHN: Go ahead,
Achiavoni.

MR. SCHIAVONIT: I just
wanted\to object. We have written
the Libby claimants separately
about this, but we object to them
doing any questioning of
Mr. Lockwaod on the grounds that
the Libby clAmants are members of
the committed they have not
objected to Mr}, Lockwood's

\ Page 46]

of the committee; hor have they
offered in response to requests
any alternative witneXs to testify
on any topics on which they
disagree with Mr. Lockwood.

We see Mr. Lockwood's
testimony and the failure'pf the
Libby claimants to object kp the
designation of Mr. Lockwold as an
adoptive omission by the Likby
claimants, and we object to 4
questioning by them as essentially
questioning seeking to impeach
their own witness. Thank you. \

MR. COHN: You are welcome.

We will respond to your \
cotrespondence, but, for the \
moment, let's simply say that we \
reject the basis for your ‘
objection. \

MR. SCHIAVONI: Ifthere are \,
any lopics that the Libby \
claimants object to Mr. Lockwood's .
designation on, we need to know

4

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45 (Pages 622 to 625)

policies for asbestos liahilities any

Page 622

constituencies in the case are making a
claim on Fireman's Fund for payment
bursuant to those policies?

MR. FINCH: Object to form.
THE WITNESS: Well, my
\awareness of that is that the

ights under those policies are

b&ing assigned to the Trust under
thdPlan. And my expectation is,

thergfore, that any such demands
that You just described would be

| Subject to that caveat
tion, if you will, | am
aware that Yhere have been.
discussions ¥f a possible
resolution of Yhat insurance.
BY MR. PLEVIN'Y
Q. Does the committee have a
position as to the right of Fireman's
Fund to set-off again&t any amounts it is
obligated to pay as coverage under the

|

Page G24

ther questions. Thank

2 you.
3 ---
4 EXAMINATION
2 ace
6 BY MR. SCHIAVONI:
| 7 Q. Mr. Lockwood, I have a
| 8 couple of softballs for you.
9 Did you review the
10 description of the status of the coverage
11. that Grace claims that Royal issued to
12  Zonolite in the Disclosure Statement?
13 A. Do you mean did I review the
14 _ portions of the Disclosure Statement
15 purporting to describe that?
16 Q. Yes.
1 7 A. I think I] did, yes.
18 Q. Okay. Did you review the
19 description of the January 5, 1995
2O settlement agreement between Grace and
21 Royal in the Disclosure Statement?
22 A. Ifyou could refer me to the
23 particular provision in the Disclosure
24 Statement to which you are referring, it

Fund under the indemnity agreement in the
event that Fireman's Fund pays under the
bond for the Edwards claim? \
MS. BAIER: Objection to the
extent you are asking for a legal
opinion or conclusion from a fact
witness.
MR. FINCH: Ijoinin that. 4
THE WITNESS: As of now, the
answer to that question is not
yet.
BY MR. PLEVIN:

Q. Okay. Do you know when --
do you have an expectation, rather, as to \
when the committee will have a position
on that?

A. Well, all I can say is that
that question is being analyzed, to my
understanding, in connection with
discussions that insurance counsel for
the committee and others are having with
representatives of Fireman's Fund.

MR. PLEVIN: Allright. 1

amounts owing from ty Np Fireman's

q

qa 623:

Pag

would probably expedite this.

I think I probably did, if
it's in the Disclosure Statement, but it
would be easier to answer the question
definitively if I could look at the
Disclosure Statement, which I have
available.

MR. SCHIAVONI: Carl, if you

could hand a copy of the
Disclosure Statement to
Mr. Lockwood.
MR. PERNICONE: J just did.
THE WITNESS: Could you give
the page or section number?
BY MR. SCHIAVONI:

Q. The provision | have on mine
is on page 41. I believe it's 2.10.2.2.

A. | see that provision.

Q. Allright. Let me just ask
you the question clean again that I just
asked you.

A. Okay.

Q. Did you review the
description of the January 5, 1995

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settlement agreement between Grace and
Royal that's in the Disclosure Statement?

A. Yes.

Q. Okay. Is it fair to say
that it's the committee's position that
the Disclosure Statement accurately
describes the January 5, 1995 settlement
agreement between Grace and Royal?

A. The answer to that is yes
subject to the qualification that the
committee is to an significant extent
relying on Grace as the source of the
information that is contained in that.

But the committee is

certainly not challenging that statement
or disagreeing with it. And it's ina
document that the committee ts a
co-proponent of. So, in effect, the
committee is adopting it.

Q. Is it fair to say,
Mr. Lockwood, that it is also the
committee's position that the Disclosure
Statement accurately describes the status
_ of the coverage that Grace alleges that

f

Royal issued to Zonolite?

A. As far as the committee is
aware, that description is accurate, for
the same reasons ] described in my answer
to the previous question.

Q. And that is, that you are
relying to some extent on Grace having
provided you information?

A. That's correct. I mean, the
only -- we get documents: we get
descriptions. The only conceivable
source of those documents to us, short of
going out and doing discovery of Royal
and what have you, was Grace.

So if they, for example,
left out a document that was relevant or
something like that, then we wouldn't
necessarily know about it. But we don't
have any reason to believe that that's
the case.

Q. Let me ask it that way. Is
it fair to say that, sitting here today,
the committee doesn't have any reason to
believe that the Disclosure Statement in

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any way inaccurately describes the
January 5, 1995 settlement agreement
between Grace and Royal?

A. Correct.

Q. Is it also fair to say that,
sitting here today, the committee doesn't
have any reason to believe that the
Disclosure Statement inaccurately
describes the status of the coverage that
Grace alleges that Royal issued to
Zonolite?

A. That is also correct.

Q. Are the Libby claimants that
are represented by Mr. Cohn a member of
the Asbestos PI Committee?

A. No. One Libby claimant that
is represented by Mr. Heberling is a
member of the committee. To my
knowledge, the balance of the so-called
Libby claimants are represented by
primarily, if not exclusively, two
plaintiffs firms in Montana, one of which
is Mr. Heberling's, the other which is

not, and that Mr. Cohn has been employed

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by those two firms to act as bankruptey
counsel for their collective clients.

But as far as [ am aware,
Mr. Cohn is not a member of the ACC.

Q. Allright. Is Mr. Heberling
a member of the Asbestos P] Committee?

A. Mr. Heberling, like the
other lawyers that are the personal
injury lawyers for members of the
committee, my understanding, has been
delegated by his client who is on the
committee to act in the client's stead on
most, if not all, matters coming before
the committee.

Q. Did either Mr. Heberling or
his client, that is, a member of the
committee, object to your designation as
a 30(b)(6) witness for the committee?

A. Not to my knowledge.

Q. Did the Libby claimants --
strike that.

Did either Mr. Heberling or
his client that’s a member of the
committee object to you offering

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47 {Pages 630 to 633)

respect to any of the topics on which the

commnittee's designated you as a 30(b)(6)
4 witness?

\ A Not that | recall

Page 630}

testimony on behalf of the committee with

Q. Did either Mr. Heberling or
his client, which is a member of the
.committee, convey any position to the
ommittee concerning the treatment of
10  akbestes PI claims that's in any way
i  indonsistent with the testimony that you
12 have offered today?
. \ MR. FINCH: Objection, form,
foyndation. To the extent that

3: Mr. Cohn and

his clients have fill

1 d voluminous

2 papers in this case expressing

3 positions with which Yhe majority

4 of the committee is in

5 disagreement, and the c4mmittee

6 has filed papers in opposion or

7 otherwise in response to tise

8 papers. \

9 You have asked me whetker or
10 not anything I have said in the
11 course of a day andahalfof \\
12 testimony is inconsistent with tX&
13 positions expressed by the Libby\\
14 claimants in those papers. |
15 would have to say it strikes me as
16 probable that I have said things
17 that were inconsistent with those

positions. But for me to go back
and recite from memory everything
that | might have said that might
be so inconsistent, | could not
begin to accomphsh.

23 BY MR. SCHIAVONI:

24 Q. Have Mr. Heberling and his

Page

|

Wh re

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Page 632

client taken positions inconsistent with
the other committee members with regard
to the Plan that's now on file?

A. Yes.

Q. And has that been the case
yr the last year?
& A. Probably, I would say so, at

. Would you tell us what
positions the Libby claimants took in
meetiigs with the other ACC members with
regard }o the insurance coverage that's
alleged tg be issued to Grace?
R. FINCH: Objection. To

the extent he is calling for

discussions between committee

member4in the presence of

committe§ counsel that would

reveal privileged communications

or work proWuct communications, |

instruct you Aot to answer the

question. \

I think on its face, the
question invade§ the privilege,

but if you can answer the question
without so doing, yoy may do so,
although IJ tend to doubt it.

THE WITNESS: Read the
question back.

(The reporter read frm the
record as requested.) ‘

THE WITNESS: I havy been
instructed not to answer tha
question by my understanding my
instructions.

MR. SCHIAVONI: And, Nate, I
don't want to belabor the point, '
but this would be the case with
regard to other questions about
what positions the Libby claimants
had communicated to the other
committee members in which they
are in opposition to the other
committee members, right?

THE WITNESS: Any
communication that happened that
wasn't as a result of them filing

something in court, | would take

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the same position and give the i you have follow-up until we run
same instruction. 2 out of time.
If you ask about questions 3 (There was a discussion held”
that Libby claimants have taken in 14 off the record at this time.) “ ff
apers filed in the court, for 1S (There was a break from ‘3:55
6 example, in a Disclosure Statement : 6 p.m. to 4:03 p.m.) v &
7 objedtions and the bullet point i 7 - +e “
8 Plan objections and the 8 EXAMINA iow, /
9 committée's responses made to that 9 --- f Mf
10 in open cowxt, | will permit 1.0 BY MR.BROWN: /)
it Mr. Lockwodd certainly to answer il Q. Mr. Lockwodd, just a couple
a2 those questions) 2 of follow-ups. T, ‘Kee éourt reporter is
13 But anything that gets into jL3 actually going. todead back a question
14 communications wrth between the 14 and answer. Afhink it's probably easier
15 Libby claimants with Whe rest of 15 to do that, i nd then J will ask my
‘LG the ACC or counsel for the ACC 16  follow-up‘gitestion. It was end of
2.7 about their respective veor 17 Mr. Wis r's questioning of you.
18 insurance coverage, | am golug to 18 AG Okay.
LQ take the position as privileped 19 (The reporter read from the
20 And so | think you have to 20 record as requested.)
21 do it on a question-by-question 1 MR. BROWN:
22 basis, but that's my general Z “ _Q. And after that,
2 3 position. Mr. Lockwood, Mr. Wisler asked you a
® BYMR.SCHIAVONE ON 4 follow-up as to what type of claim it
Page 635: Page 637

1 Q. Okay. Mr. Lockwood, I just | 1 \would be.
2 have one other brief topic. And here is i 2 And is it correct that the
3 the first question on that: Does the : 3 AGC does not have a position on what type
4 Plan purport to release claims that may , 4 of claim it would be if it's not a Class
5 exist between insurers and Non-Dehtors? 5 6 claim‘
6 MR. FINCH: Objection, form, 6 A. \ vel the ACC doesn't, as
7 broad. vague. / 7 such, have pasitions on hypothetical
8 THE WITNESS: Phrased as | 8 questions. Soyes, the ACC doesn't have
broadly as you have, | think the - 9 a position on thatissue. The ACC --
answer is yes. 10 well, | will leave itvat that.
MR. SCHIAVONI: Okay. Thank il Q. On Friday Mr. Cohn asked
you. Lhave no further questions. 12 you a question, who drafted the TDP.
MR. FINCH: Is there anyone 13 That was the question, ayd you gave an
else in the room who has 14 answer which Tam happy to show you the
estions? 15 fullanswer. But | WANT torepeat a
R BROWN: T have some 16 portion of your answer. You shid: "The
follow-ups> 1? participants that did it were basiéally
MR. FINCBs Is there anyone 18 counsel for the ACC, counsel for thaFCR,
else on the telephontayho has not 19 = and members of the ACC itself in terms of
asked questions yet who has 20 reviewing and commenting on things, are
questions? 21. the FCR himself."
(No response.) NN 22 When you said the ACC
MR. FINCH: Flearing no “X23 itself, what did you mean?
affirmative response. | will Jet “24 A. | meant --

